21-12075-dsj       Doc 162       Filed 03/12/22 Entered 03/12/22 18:30:47                   Main Document
                                              Pg 1 of 11



SQUIRE PATTON BOGGS (US) LLP

Christopher J. Giaimo
2550 M Street, NW
Washington, DC 20037
Telephone: (202) 457-6000
Facsimile: (202) 457-6315
Email: christopher.giaimo@squirepb.com

Nava Hazan
1211 Avenue of the Americas, 26th Floor
New York, NY 10036
Telephone: 212-872-9800
Facsimile: 212-872-9815
Email: nava.hazan@squirepb.com

Counsel for Mizuho Leasing Co., Ltd.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                    Chapter 11

    JPA NO. 111 CO., LTD. and                                 Case No. 21-12075 (DSJ)
    JPA NO. 49 CO., LTD.,

    Debtors.1


      STATEMENT OF MIZUHO LEASING CO., LTD. IN SUPPORT OF (A) DEBTORS’
       SALE MOTION, (B) MOTION FOR ENTRY OF AN ORDER (I) DETERMINING
        SECURED CLAIMS OF PREPETITION CREDIT FACILITIES OR (II) IN THE
          ALTERNATIVE, ESTIMATING AMOUNT OF CLAIMS ASSERTED BY
    FITZWALTER CAPITAL PARTNERS (FINANCIAL TRADING) LIMITED AND ITS
    AFFILIATES, AND (C) DEBTORS’ REPLY TO FITZWALTER CAPITAL PARTNERS
     (FINANCIAL TRADING) LIMITED’S PRELIMINARY OBJECTION TO DEBTORS
     506/502 MOTION AND RESPONSE TO DEBTORS’ REPLY IN SUPPORT OF SALE
           MOTION AND JPL’S STATEMENT IN SUPPORT OF SALE MOTION




1
 The Debtors in these cases are JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The Debtors’ corporate address is
Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki, Chiyoda-Ku, Tokyo 100- 0013.


                                                   Page 1 of 11
21-12075-dsj        Doc 162        Filed 03/12/22 Entered 03/12/22 18:30:47                     Main Document
                                                Pg 2 of 11



         Mizuho Leasing Co., Ltd. (“Mizuho”), by and through its undersigned counsel, hereby files

this statement in support of (a) the Application for Entry of Orders: (I)(A) Approving Bidding

Procedures Relating to the Sale of Substantially All of the Debtors’ Assets; (B) Establishing

Stalking Horse Bidders and Bid Protections; (C) Approving Procedures for the Assumption and

Assignment of Certain Executory Contracts and Unexpired Leases;(D) Authorizing Enforcement

Actions; (E) Scheduling an Auction and a Sale Hearing; and (F) Approving the Form and Manner

of Notice Thereof; and (II) (A) Approving the Sale of the Purchased Assets Free and Clear of All

Liens, Claims, Interests, and Encumbrances; and (B) Granting Related Relief [Docket No. 21] (the

“Sale Motion”), (b) the Motion of the Debtors for Entry of an Order (I) Determining Secured

Claims of Prepetition Credit Facilities or (II) In the Alternative, Estimating Amount of Claims

Asserted by FitzWalter Capital Partners (Financial Trading) Limited and its Affiliates [Docket

No. 136] (the “Determination Motion”), and (c) the Debtors’ Omnibus Reply to FitzWalter Capital

Partners (Financial Trading) Limited’s Preliminary Objection to Debtors’ 505/502 Motion and

JPL’s Statement in Support of Sale Motion [Dkt. No. 154] (the “Debtors’ Reply,” together with

the Sale Motion and the Determination Motion, the “Motions”), and respectfully states as follows:

                                      PRELIMINARY STATEMENT

         1.       What should be obvious to this Court and all interested parties is that FitzWalter,2

- now with their newly installed allies, the Intermediate Lessors - have, even prior to the initiation

of these proceedings, engaged in an excessively aggressive scheme to acquire the Aircraft and the

Leased Assets for themselves at the lowest possible price to the detriment of all parties-in-interest,

including the other Finance Parties, such as Mizuho. Their scorched earth tactic is clear, as

evidenced by their uncompromising and overzealous opposition to the Sale Motion, a motion


2
  Unless otherwise defined herein, all capitalized terms not used herein shall have the meanings ascribed to them in
the Determination Motion and the Debtors’ Reply, as applicable.

                                                     Page 2 of 11
21-12075-dsj      Doc 162     Filed 03/12/22 Entered 03/12/22 18:30:47              Main Document
                                           Pg 3 of 11



which seeks approval of a sale that would pay them in full, a recovery that FitzWalter appears to

deem insufficient, regardless of what it is legally entitled to receive. It is also clear that part of

their scheme to acquire the assets for themselves is to attempt to prevent the Sale by seeking

grossly excessive fees and costs that no typical lender under the circumstances would either incur

or legitimately pursue in such a proceeding.

       2.      Indeed, having lost on their Motion to Dismiss, FitzWalter has been undaunted in

their pursuit of their non-lender goals, including by continuing to pursue the identical arguments

that this Court rejected in its Memorandum Decision. Not content with the progress before this

Court, FitzWalter initiated non-bankruptcy proceedings, including the English Lawsuit to attempt

to coerce related non-debtor affiliates into submission. FitzWalter pursued (and presumably

intends to continue to pursue) all these unnecessary and overly aggressive actions, while planning

to inappropriately shift the cost of doing so unto other parties, including the junior lender, Mizuho.

They do so under the guise of the Proceeds Agreement, which FitzWalter is using as a sword to

enrich itself, rather than as a shield to protect its secured position. This pattern of behavior is not

only destructive to the Debtors’ estates, but to all parties-in-interest, and needs to end. Mizuho

respectfully requests this Court’s assistance in doing so by rejecting FitzWalter’s opposition to the

Sale Motion and limiting their fees and costs to what would be reasonable for a senior secured

lender in FitzWalter’s position, as prescribed by the Proceeds Agreement and applicable law.

                                  RELEVANT BACKGROUND

       3.      With the voluminous pleadings filed in these otherwise simple proceedings, the

Court is undoubtedly aware of the factual background relevant to these cases. Accordingly, for

purposes of brevity, Mizuho incorporates herein by reference the factual assertions contained in




                                               Page 3 of 11
21-12075-dsj       Doc 162       Filed 03/12/22 Entered 03/12/22 18:30:47                   Main Document
                                              Pg 4 of 11



the Debtors’ Reply and the Declaration of Teiji Ishikawa Pursuant to Local Bankruptcy Rule 1007-

2 and in Support of the Debtors’ Chapter 11 Petitions and First Day Pleadings [Docket No. 3].

        4.       Mizuho is the only Junior Lender under both Junior Facilities, and, as of January 4,

2022, is owed a total of approximately $15,761,935 by the Debtors, exclusive of post-petition

interest, fees and costs.

        5.       As this Court is aware, a mere two weeks into these cases, the Debtors filed their

Sale Motion, having worked diligently to secure a bid by the Stalking Horse Purchasers. As the

Debtors have repeatedly represented, the Sale to be pursued thereunder purports to satisfy the

Secured Obligations in full and provide a recovery to equity. This is a remarkable accomplishment

given the Debtors’ situation prior to the Petition Date, when FitzWalter attempted to orchestrate a

truncated and value-deflating sale process without reasonable notice,3 so as to all but insure that

FitzWalter’s affiliate would be the only party able to acquire the relevant assets.

        6.       Having been deprived of the opportunity to acquire the Aircraft at an artificial and

self-imposed depressed price for itself prior to the Petition Date, FitzWalter continued to pursue

its acquisition goals by undertaking an aggressive strategy to prevent the Debtors’ efforts to

maximize recovery for all creditors and parties-in-interest, by opposing the Sale and seeking

dismissal of these bankruptcy cases. These efforts continued unabated even after this Court’s

Memorandum Decision and the clear findings therein. However, it bears noting that these efforts

come at significance expense to the estates and are detrimental to every party-in-interest in these

cases, other than FitzWalter.




3
 As stated in Mizuho’s Joinder to the Debtors’ Objection to the Motion of FitzWalter Capital Partners (Financial
Trading) Limited to Dismiss or Abstain From Hearing These Chapter 11 Cases [Dkt. No. 54], Mizuho was not
provided notice of FitzWalter’s foreclosure proceedings, despite being a Finance Party under the Transaction
Documents.

                                                   Page 4 of 11
21-12075-dsj      Doc 162      Filed 03/12/22 Entered 03/12/22 18:30:47               Main Document
                                            Pg 5 of 11



         A.     Joinder in Support of the Sale

         7.     As previously expressed to the Court, Mizuho supports the Sale, which will

undoubtedly maximize recovery and protect all the secured creditors’ interests. FitzWalter’s

undisclosed objective to obtain title to the Aircraft – cloaked in terms of its stated efforts to enforce

the Transaction Documents – will certainly not have the same result as the Sale. Indeed, at no

point in these proceedings, either by submission to the Court or testimony, has FitzWalter ever

suggested that any alternative to the Sale, such as their acquisition of the Aircraft and Lease Assets

after dismissal, would leave anything to junior creditors. Certainly, it will not and the excessive

FitzWalter Alleged Fees, Costs & Charges currently being asserted by FitzWalter as “Secured

Obligations” is yet another backdoor effort to deprive other parties-in-interest in these cases of

value.

         8.     Accordingly, by this Response, Mizuho hereby supports the Debtors’ Sale Motion

and adopts and incorporates the arguments in the Determination Motion and the Debtors’ Reply,

to the extent applicable, as well as those set forth herein, and respectfully requests that this Court

approve the Sale and limit the FitzWalter Alleged Fees, Costs & Charges as provided in the

Determination Motion.

         B.     Limited Response to FitzWalter’s 506/502 Objection

         9.     In addition to the arguments contained in the Debtors’ Determination Motion,

which, for purposes of brevity, will not be restated herein, Mizuho objects to FitzWalter’s

suggestion in footnote 17 of its 506 Objection that, notwithstanding a potential ruling by this Court

that the FitzWalter Alleged Fees, Costs & Charges cannot be characterized as Secured Obligations,

FitzWalter can summarily ignore such ruling and retain such amounts from the proceeds of the

Sale under the Proceeds Agreement prior to other Finance Parties’ receipt thereof, or more



                                               Page 5 of 11
21-12075-dsj      Doc 162     Filed 03/12/22 Entered 03/12/22 18:30:47              Main Document
                                           Pg 6 of 11



egregiously, can pursue claims against Mizuho and other Finance Parties to recover the FitzWalter

Alleged Fees, Costs & Charges. Such a statement is patently offensive to the authority of this

Court and, inter alia, fails to take into consideration the tenants of res judicata. Indeed, FitzWalter

appears to be boldly stating that it has every intention to blatantly ignore the potential findings of

fact and conclusions of law contained in such a ruling, but also to determine, unilaterally, what

effect such findings and conclusions would have on the enforcement of the relevant provisions of

the Proceeds Agreement that FitzWalter so ardently proclaims entitles it to relief.

       10.     As a threshold matter, any ruling by this Court with respect to the allowance of the

FitzWalter Alleged Fees, Costs & Charges would necessarily entail an analysis of the relevant

provisions of the Proceeds Agreement, as well as FitzWalter’s entitlement to and compliance with

the same under Section 502(b)(1) of the Bankruptcy Code. Only then would the Court undertake

a determination of reasonableness under Section 506(b) of the Bankruptcy Code. This two-step

analysis will determine, among other things, whether the FitzWalter Alleged Fees, Costs &

Charges are appropriate under the Proceeds Agreement and, thus, will have a direct bearing on

whether such fees and costs are enforceable against FitzWalter’s fellow Finance Parties

thereunder. While FitzWalter has shown its ability to completely ignore this Court’s rulings, any

attempt to do so in this context will be strongly opposed by Mizuho, as well as other parties-in-

interest, and should not be tolerated by this Court.

       11.     Moreover, as soundly set forth in the Determination Motion and the Debtors’

Reply, the FitzWalter Alleged Fees, Costs & Charges are simply not allowable in their entirety as

a matter of law, especially when viewed in the context of these cases and FitzWalter’s admitted

goal of acquiring the Aircraft, rather than protecting its secured investment, which it only acquired

weeks before the Petition Date. “Within section 506(b)’s construct, bankruptcy courts have broad



                                               Page 6 of 11
21-12075-dsj      Doc 162      Filed 03/12/22 Entered 03/12/22 18:30:47              Main Document
                                            Pg 7 of 11



discretion to determine the allowance of attorney’s fees . . . including . . . the power to review the

reasonableness of such fees in the context of the case and the claimant’s position in it.” In re

Canal Asphalt, Inc., 2017 Bankr. LEXIS 1289, 2017 WL 1956849, at *8 (Bankr. S.D.N.Y. May

10, 2017) (citing In re Mills, 77 B.R. 413, 419 (Bankr. S.D.N.Y. 1987) (emphasis added)).

       12.     The Debtors correctly cite to Canal Asphalt as instructive to the Court’s

consideration of the FitzWalter Alleged Fees, Costs & Charges and, thus, Mizuho need not provide

further analysis with respect to this issue. However, Mizuho is compelled to reiterate that courts

routinely hold that the reasonableness standard under Section 506(b) in a chapter 11 case, such as

these cases, is to be interpreted as the reasonable services and expenses that would be incurred to

enforce the rights and remedies of a similarly situated secured creditor, given all of the facts and

circumstances of the chapter 11 case. This is exemplified by the holding in In re Reorganized

Lake Diamond Assocs., LLC, 367 B.R. 858 (Bankr. M.D. Fla. 2007), a case very similar to Canal

Asphalt (and cited therein) and applicable to the instant proceedings.

       13.     In Reorganized Lake Diamond, a distressed investor fund, much like FitzWalter,

acquired the debtors’ senior secured debt solely for the purpose of acquiring the debtor’s primary

asset. Id. at 860-861. The investor then initiated overly aggressive and costly litigation for the

sole purpose of upsetting the debtor’s stalking horse sale to a third party that would have, and

ultimately did, pay all creditors in full. Id. 862. After failing to achieve its acquisition objectives,

the investor sought reimbursement of all the fees and expenses it incurred in attempting to acquire

the assets under the guise of Section 506. Id. As this Court should do here, the court in

Reorganized Lake Diamond saw through the investor’s scheme and denied all fees and costs other

than those strictly limited to the protection of its secured interest. Id. at 868 (“Given the legal




                                               Page 7 of 11
21-12075-dsj     Doc 162      Filed 03/12/22 Entered 03/12/22 18:30:47             Main Document
                                           Pg 8 of 11



issues involved, the fees incurred by Silver are not cost justified by the economics of the situation,

and must be disallowed under § 502(b)(1)”).

       14.     The court in Reorganized Lake Diamond recognized that, after a threshold holding

of allowance under Section 502 of the Bankruptcy Code to determine whether the fees and costs

are allowed under non-bankruptcy law, the court must undertake a reasonableness analysis under

Section 506. Id. at 864-865. The court further recognized that under Section 506’s reasonableness

requirement, “a creditor is only entitled to include services reasonably required to protect its

interest in the loan. Overzealousness will not be compensated, even if the creditor approves of

such action by its counsel.” Id. at 866 (citations omitted). The court further noted that “[i]n

permitting recovery of expenses covered by contract, a rule of reason must be observed in order to

avoid such clauses becoming a tool for wasteful diversion of an estate at the hands of secured

creditors, who, knowing that the estate must foot the bills, fail to exercise restraint in enforcement

expenses.” Id. 868 (quoting In re Salisbury, 58 B.R. 635, 640 (Bankr. D. Conn. 1985)). With

these tenants in mind, the court flatly rejected the vast majority of the investor’s fees, including,

but not limited to, the fees incurred opposing the proposed bidding procedures, including the

break-up fee, finding that such fees are “not something a typical first-position, admittedly

oversecured creditor would undertake. Rather, it is more in line with that of a competing purchaser

or an unsecured creditor.” Id. at 870. In short, the court, as is the case here, recognized that the

Lake Diamond investor “acquired the secured debt to best position itself to purchase the assets and

did so with no downside….. [I]t could pursue the purchase of the Property by credit bidding and,

if it were unsuccessful, have its claim satisfied from the proceeds of the Debtor’s previously

requested sale.” Id. at 870-871.




                                              Page 8 of 11
21-12075-dsj        Doc 162   Filed 03/12/22 Entered 03/12/22 18:30:47              Main Document
                                           Pg 9 of 11



       15.     Just like the investor in Reorganized Lake Diamond, FitzWalter has acted, and

continues to act, as a loan-to-own acquirer, not a lender, as a traditional lender would arguably

have supported the Sale process and not have undertaken the excessively egregious and costly

actions that FitzWalter has during these proceedings – all at the expense of other parties-in-interest.

Indeed, FitzWalter’s goal was to acquire the Aircraft and the Lease Assets for no more than the

likely discounted amount they paid for the senior debt they now seek to grossly inflate. As

provided above, any analysis this Court undertakes with respect to the allowance of the FitzWalter

Alleged Fees, Costs & Charges should be in context of this reality, as well as the framework

described in and the intent behind the applicable provisions of the Proceeds Agreement.

       16.     The purpose of Section 506(b) is to ensure that oversecured creditors do not lose

their reasonable claims for certain fees and costs simply because their collateral is worth more than

their underlying claim. It has never been a blank check for oversecured lenders to obtain benefits

beyond the scope of the protection of their interests. Certainly, FitzWalter has taken actions well

beyond the protection of its secured interest in the context of these proceedings, which again are

cases where the Debtors, from the beginning, have represented that the secured creditors will be

paid in full through the Sale. FitzWalter is clearly attempting the use the Proceeds Agreement as

a blank check, not only to block the Sale for its own benefit, but to significantly enrich itself and

its agents in the event such efforts ultimately fail (as they should). Accordingly, this Court should

carefully scrutinize FitzWalter’s fees and expenses and limit them under Sections 502 and 506 to

only what was strictly necessary under the terms of the Proceeds Agreement to protect its senior

secured interest.

       17.     Mizuho reserves its rights to make any additional arguments in support of the relief

requested herein at the Sale Hearing.



                                               Page 9 of 11
21-12075-dsj     Doc 162     Filed 03/12/22 Entered 03/12/22 18:30:47            Main Document
                                         Pg 10 of 11



       WHEREFORE, for the reasons stated herein, Mizuho respectfully requests that this Court

approve the Sale Motion and grant any other relief that this Court deems just and proper.


Dated: March 12, 2022
                                                       SQUIRE PATTON BOGGS (US) LLP

                                                       /s/ Christopher J. Giaimo
                                                       Christopher J. Giaimo
                                                       2550 M Street, NW
                                                       Washington, DC 20037
                                                       Telephone: (202) 457-6000
                                                       Facsimile: (202) 457-6315
                                                       Email: christopher.giaimo@squirepb.com

                                                       Nava Hazan
                                                       1211 Avenue of the Americas, 26th Floor
                                                       New York, NY 10036
                                                       Telephone: 212-872-9800
                                                       Facsimile: 212-872-9815
                                                       Email: nava.hazan@squirepb.com

                                                       Counsel for Mizuho Leasing Co., Ltd.




                                            Page 10 of 11
21-12075-dsj     Doc 162     Filed 03/12/22 Entered 03/12/22 18:30:47              Main Document
                                         Pg 11 of 11




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of March, 2022, I caused a true and correct copy of

the foregoing STATEMENT OF MIZUHO LEASING CO., LTD. IN SUPPORT OF (A)

DEBTORS’ SALE MOTION, (B) MOTION FOR ENTRY OF AN ORDER (I)

DETERMINING SECURED CLAIMS OF PREPETITION CREDIT FACILITIES OR (II)

IN THE ALTERNATIVE, ESTIMATING AMOUNT OF CLAIMS ASSERTED BY

FITZWALTER CAPITAL PARTNERS (FINANCIAL TRADING) LIMITED AND ITS

AFFILIATES, AND (C) DEBTORS’ REPLY TO FITZWALTER CAPITAL PARTNERS

(FINANCIAL TRADING) LIMITED’S PRELIMINARY OBJECTION TO DEBTORS

506/502 MOTION AND RESPONSE TO DEBTORS’ REPLY IN SUPPORT OF SALE

MOTION AND JPL’S STATEMENT IN SUPPORT OF SALE MOTION to be filed and

served through ECF notification upon all parties who receive notice in this matter pursuant to the

Court’s CM/ECF filing system.


                                                       /s/ Christopher J. Giaimo
                                                       Christopher J. Giaimo




                                            Page 11 of 11
